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          EXHIBIT A
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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

CANYON FURNITURE COMPANY                              §
    PLAINTIFF,                                        §
                                                      § CIVIL ACTION NO. 5: 18-CV-00753
v.                                                    §
                                                      §
DANIEL RUEDA SANCHEZ, JULIO                           §
ALFONSO RODRIGUEZ VALDEZ,                             §
FURNITURE INDUSTRIES SERVICES,                        §
INC., & DISENOS INNOVADORES DE                        § DEMAND FOR JURY TRIAL
BAJA CALIFORNIA, S. de R . L. de C.V.                 §
       DEFENDANTS.                                    §

                     DECLARATION OF DANIEL RUEDA SANCHEZ

       1.      My name is Daniel Rueda. I am over the age of 18.1 have personal knowledge of

and am competent to testify as to the matters set forth below and to the matters set forth in any

attachments to this Declaration.

       2.      I am a named defendant in this case.

       3.      Defendants, Daniel Rueda Sanchez, Julio Alfonso Rodriguez Valdez (together,

“Individual Defendants”) along with Furniture Industries Services, Inc., and Disenos Innovadores

de Baja California, S. de R.L. de C.V. ( together, “Corporate Defendants” and collectively

“Defendants”), have been accused by Canyon Furniture Company of the following:

       1.     COUNT ONE
       Unfair Competition - Statutory Misappropriation of Trade Secrets
       Texas Uniform Trade Secrets Act, Tex. Civ. Prac. & Rem. Code §§ 134A.001, et seq .
       (Against Ail Defendants)

       2.     COUNT TWO
       Unfair Competition - Common Law Misappropriation
       (Against All Defendants)

       3.      COUNT THREE
       Breach of Fiduciary Duty
       (Against   Individual Defendants)

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      4.     COUNT FOUR
      Breach of Confidential Relationship
      ( Against Rueda and Rodriguez )

       5.     COUNT FIVE
       Breach of Duty of Loyalty
       ( Against Individual Defendants)


       6.             Defendants exercised their rights under the provisions of 28 U.S.C. §§ 1441, et seq.,

to remove this action from the State District Court of Bexar County, Texas, in which said action

was pending under the assigned style Canyon Furniture Company v. Daniel Rueda Sanchez , Julio

Alfonso Rodriguez Valdez (together, “ Individual Defendants” ), Furniture Industries Services,

Inc. , and Disenos Innovadores de Baja California , S. de R. L. de C.V. , Civ. No. 2018-cv-12648.

           7.          Plaintiff filed the above referenced action on July 10, 2018.

           8.          Defendants have not been served.

           9.          The United States District Court for the Western District of Texas is the district

 court for the district within which the state court action was pending.

            10 .        Plaintiff seeks in this action claims against Defendants for in excess of

  $1,000 ,000.00.

            11 .        Plaintiff seeks in this action claims for Unfair Competition           -   Statutory

  Misappropriation of Trade Secrets Texas Uniform Trade Secrets Act, Tex. Civ. Prac. & Rem. Code

  §§ 134 A.001, et seq. against Defendants.

                12.      Plaintiff seeks in this action claims against Defendants for “Monetary relief in

   excess of $1,000 ,000.00.”

                13.      The sole Plaintiff is a Florida for-profit corporation whose principal place of

    business is in the State oi Florida.


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         14.      At the time of filing of this action, all other times and at the present, Daniel Rueda

  Sanchez ("Rueda'') was and is an individual and citizen of United States of America and resident

 of California and resides at 819 Chervil Ct., Chula Vista, CA 91910.

         15.      At the time of filing of this action, all other times and at the present, Julio Alfonso

 Rodriguez Valdez (“ Rodriguez”) was and is an individual and citizen of Mexico and resident of

 Tijuana, Baja California, Mexico and resides at Circuito Loma Dorada #19525, Fraccionamiento

 Loma Dorada, Tijuana, BC, Mexico.

        16.      At the time of filing of this action , all other times and at the present, Furniture

 Industries Services, Inc. (“FIS”) was and is a California corporation having its principal place of

 business at 6051 Business Center CT 4-273 San Diego Ca 92154

        17.      At the time of filing of this action, all other times and at the present, Disenos

Innovadores de Baja California, S. de R . L. de C. V. (“Disenos”) was and is a Mexican corporation

located at Av. Roberto de La Madrid 1500-B Tijuana Baja California Norte 22170, Mexico, with

its principal place of business in Tijuana, Baja California, Mexico.

        18.      Baja California is a state in Mexico and not part of the United States.

        19.     The basis for jurisdiction stated in the complaint is that “each of the Defendants has

engaged in efforts to disclose or use Canyon’s trade secrets to seek profit from sales of the Canyon

copied furniture in Texas. This Court also has personal jurisdiction over Defendants because the

Defendants have placed their copied products into the stream of commerce with the intention that

they will be sold in Texas. Specifically, the Individual Defendants have ( 1 ) caused Disenos to

manufacture and /or distribute furniture and (2) caused FIS to sell the furniture to retailers that
                                                                                     Texas,
operate their stores in Texas, such as Bob Mills Furniture stores located throughout

including in San Antonio.” (1 12.)


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           20 .   The Plaintiff's bunk beds were designed and manufactured in Mexico by

Montecitos Manufacturing S Dc R . L. De C . V., a Mexican Corporation, located at Calle Primera #

     .
7550 La Cienega C.P. 22120 Tijuana B.C., Mexico.

           21.    The Plaintiffs bunk beds were designed and manufactured in Mexico by

Montecitos Manufacturing S De R . L. De C.V are not protected by any United States Copyright or

Patent .

           22 .   The Plaintiffs childen’s bunk beds were not manufactured by Plaintiff Canyon

Furniture Company.

           23.    Defendant Rodriguez was formerly employed by Montecitos Manufacturing S De

R.L. De C.V., in Mexico and not by Plaintiff in the United States.

           24.    Defendant Rodriguez relationship with Montecitos Manufacturing S De R.L. De

C.V., is governed by Mexican Law.

           25.    Defendant Rueda was formerly employed by Retail Management Services

Company in Mexico, and not by Plaintiff in the United States.

           26.    Montecitos Manufacturing S De R.L. De C.V. and Retail Management Services

Company are separate companies from Plaintiff.

           27.    Much of the business of Montecitos Manufacturing S De R.L. De C.V. is conducted

in Spanish and many of its records are in Spanish.

           28.    Much of the business of Disenos is conducted in Spanish and many of its records

are in Spanish.

           29.    The bunk beds that are associated with the Defendants were designed and

manufactured in Mexico by Disenos’ plant at Av. Roberto de La Madrid 1500-B Tijuana
                                                                                   , Baja


California Norte 22170, Mexico.


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               30.      The Defendants have never had any offices or places of business in the state of

    Texas.

               31 .     The Defendants have never had any employees, agents or representatives in the

    state of   Texas.

               32 .     The Defendants have never owned any property in the state of Texas.

               33.      The Defendants have never had title to any property in the state of Texas.

               34.      The Defendants have never resided or operated in the state of Texas.

               35.      The Defendants have never designed any products in the state of Texas.

               36 .     The Defendants have never manufactured any products in the state of Texas.

               37 .     The individual Defendants have never had any employees, agents or representatives

    residing or operating the state of Texas.

             38 .       The corporate Defendants have never had any officers, directors, shareholders,

    employees, agents or representatives residing or operating in the state of Texas.

             39.        Defendants have no control of where its bunk beds are sold in the United States.

             40 .       The Defendants have never availed themselves of the laws of the state of Texas.

               41 .     The Defendants Rodriguez and Rueda are not officers, directors, employees or

    shareholders of the Corporate Defendants FIS and Disenos.

               42.      The Plaintiffs claims are based on acts that occurred in Mexico and not the United

    States or Texas.

               43.      The Defendants’ only connection to the United States is that the bunk beds were

    manufactured in Mexico by Disenos and sold in California by FIS.




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           44.   F IS sold Disenos' bunk beds to Bob Mill Furniture Co., an Oklahoma limited

 liability company with is principal place of business at 3600 West Reno, Oklahoma City, OK

 73107 which beds were shipped by Disenos FBO Tijuana, Mexico.
           45.   Plaintiffs claimed trade secrets were not revealed by the sales of the Disenos’ bunk

beds into the United States by FIS.

           46.   Defendants do not know of anything protectable in the bunk beds of Plaintiff and

Defendants.

           47.   Defendants have never misappropriated , revealed or used any of Plaintiffs trade

secrets or confidential information in Texas.

           48.   Defendants have never unfairly competed with or breached any obligation to

Plaintiff in Texas.

           49.   Plaintiff has initiated a legal proceeding that is pending in Mexico against

Defendant Rodriguez.

       50.       The alleged misappropriation, revealing or use of Plaintiffs trade secrets or

confidential information and breaches by Defendants occurred in Mexico and are governed by

Mexican law.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and

correct.

Executed on July 29, 2018.


                                                      Daniel eda
                                                              Ru     Sanchez




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